       Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 1 of 17 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DORNA SPORTS, S.L.,

       Plaintiff,
                                                    Case No. 24-cv-5114
v.
                                                    Judge
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

       Defendants.


                                          COMPLAINT

        Plaintiff, DORNA SPORTS, S.L. (“Plaintiff”), by undersigned counsel, hereby

 complains of the Partnerships and Unincorporated Associations identified in Schedule A

 attached hereto (collectively, “Defendants”), and alleges as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq.; 28 U.S.C. § 1338(a) - (b)

 and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

 the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

 so related to the federal claims that they form part of the same case or controversy and derive

 from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

 properly exercise personal jurisdiction over Defendants since each of the Defendants directly
      Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 2 of 17 PageID #:2




targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s MOTOGP Trademarks. Each of

the Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiff’s federally

registered trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                         INTRODUCTION

        3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed products using infringing and counterfeit versions of Plaintiff’s federally registered

trademarks (the “Counterfeit Products”).

        4.      Defendants created numerous Internet Stores and designed them to appear to be

selling genuine Plaintiff’s products, while selling inferior imitations of Plaintiff’s products.

Defendant Internet Stores share unique identifiers, such as design elements and similarities of the

counterfeit products offered for sale, establishing a logical relationship between them and

suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence or

series of transactions or occurrences. Defendants attempt to avoid liability by going to great



                                                   2
       Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 3 of 17 PageID #:3




lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s registered trademarks as well as to protect unknowing consumers from purchasing

unauthorized products over the Internet. Plaintiff has been and continues to be irreparably

damaged through consumer confusion, dilution and tarnishment of its valuable trademarks as a

result of Defendants’ actions and seeks injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each Defendant has offered to sell and ship infringing

products into this Judicial District.

                                         THE PLAINTIFF

        6.      Plaintiff owns and manages the licensing, sale, and marketing of MOTOGP

products. Plaintiff is a Spanish corporation with its principal place of business at Príncipe de

Vergara, 183, Madrid, Spain 28002.

        7.       Plaintiff is in the business of organizing, staging, developing and

commercializing all aspects of the motorcycling championship FIM World Championship Grand

Prix, commercially known under the “MOTOGP” mark. DORNA SPORTS, S.L., as an essential

part of its business, is in charge of developing, marketing, selling and distributing MOTOGP

products. The motorcycle racing championship under the MOTOGP name and mark is the

premier class of motorcycle racing events that was inaugurated in 1949 by the Fédération

Internationale de Motocyclisme. Since 1991, DORNA SPORTS, S.L. has remained the exclusive

organizer and the commercial and TV rights holder for the MOTOGP championship, as well as



                                                   3
       Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 4 of 17 PageID #:4




the exclusive owner of the MOTOGP brand. MOTOGP’s 20-round season visits a total of 16

countries across four continents, showcasing the planet’s fastest racers as the pinnacle of

motorcycle racing. DORNA SPORTS, S.L. is the official source of MOTOGP products.

        8.      Plaintiff is the owner of at least U.S. Trademark Registration Nos. 2,947,076;

3,508,867 and 4,541,007 for the “MOTOGP” design and word mark in classes 7, 9, 12, 16, 25, 28

and 41; Registration No. 3,512,835 for the “MOTOGP KIDS” design and word mark in classes 9,

25 and 28; Registration No. 4,381,707 for the “MOTO2” word mark in classes 4, 7 and 12;

Registration No. 4,423,485 for the “MOTOGP” design mark in classes 9, 25, 28 and 41;

Registration No. 5,393,530 for the “MOTOGP” word mark in classes 9, 16, 18, 25, 28, 35 and 41;

and Registration No. 5,543,234 for the “MOTOE” design and word mark in classes 25, 38 and 41

(collectively, the “MOTOGP Trademarks”).

        9.      The above registrations for the MOTOGP marks are valid, subsisting, and in full

force and effect. True and correct copies of the federal trademark registration certificates for the

above-referenced marks are attached hereto as Exhibit 1.

        10.     The MOTOGP Trademarks are distinctive and identify merchandise as goods

from DORNA SPORTS, S.L. or its duly authorized licensees.

        11.     The MOTOGP Trademarks have been continuously used and never abandoned.

        12.     Plaintiff’s MOTOGP Trademarks are exclusive to Plaintiff and are displayed

extensively on Plaintiff’s Products and in Plaintiff’s marketing and promotional materials.

Plaintiff’s MOTOGP Trademarks have been the subject of substantial and continuous marketing

and promotion by Plaintiff at great expense. In fact, Plaintiff has expended significant resources

annually in advertising, promoting and marketing featuring Plaintiff’s MOTOGP Trademarks.

Plaintiff’s promotional efforts include — by way of example, but not limitation — substantial



                                                   4
      Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 5 of 17 PageID #:5




print media, a website, social media sites and point of sale materials. Because of these and other

factors, Plaintiff’s MOTOGP Trademarks have become famous worldwide.

       13.      Plaintiff’s MOTOGP Trademarks are distinctive when applied to Plaintiff’s

Products, signifying to the purchaser that the products come from Plaintiff and are manufactured

to Plaintiff’s quality standards. Whether Plaintiff manufactures the products itself or licenses

others to do so, Plaintiff has ensured that products bearing its Trademarks are manufactured to

the highest quality standards.     Plaintiff’s MOTOGP Trademarks have achieved fame and

recognition, which has only added to the inherent distinctiveness of the marks. As such, the

goodwill associated with Plaintiff’s MOTOGP Trademarks is incalculable and of inestimable

value to Plaintiff.

        14.     Plaintiff’s MOTOGP Trademarks qualify as famous marks, as used in 15 U.S.C.

§1125 (c)(1), and have been continuously used and never abandoned.

        15.     Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting its Trademarks.          As a result, products bearing the

MOTOGP Trademarks are widely recognized and exclusively associated by consumers, the

public and the trade as products sourced from Plaintiff.

                                        THE DEFENDANTS

        16.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including Illinois and within this Judicial District,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendants’ Internet Stores. Each Defendant targets the United States,

including Illinois, and has offered to sell and, on information and belief, has sold and continues



                                                 5
      Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 6 of 17 PageID #:6




to sell counterfeit products to consumers within the United States, including Illinois and this

Judicial District.

                         THE DEFENDANTS’ UNLAWFUL CONDUCT

        17.     The success of Plaintiff’s brand has resulted in its counterfeiting. Plaintiff has

identified numerous domain names linked to fully interactive websites and marketplace listings

on platforms such as iOffer and Amazon, including the Defendants’ Internet Stores, which were

offering for sale, selling and importing counterfeit products to consumers in this Judicial District

and throughout the United States. Defendants have persisted in creating the Defendants’ Internet

Stores. Internet websites like the Defendant Internet Stores are estimated to receive tens of

millions of visits per year and generate over $135 billion in annual online sales. According to an

intellectual property rights seizures statistics report issued by Homeland Security, the

manufacturer’s suggested retail price (MSRP) of goods seized by the U.S. government in 2013

was over $1.74 billion, up from $1.26 billion in 2012. Internet websites like the Defendants’

Internet Stores are also estimated to contribute to tens of thousands of lost jobs for legitimate

businesses and broader economic damages such as lost tax revenue.

        18.     Upon information and belief, Defendants facilitate sales by designing the

Defendants’ Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine products.      Many of the Defendants’

Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards and

Amazon. Defendants’ Internet Stores often include images and design elements that make it

very difficult for consumers to distinguish such counterfeit sites from an authorized website.

Defendants further perpetuate the illusion of legitimacy by offering “live 24/7” customer service

and using indicia of authenticity and security that consumers have come to associate with



                                                 6
      Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 7 of 17 PageID #:7




authorized retailers, including the McAfee® Security, VeriSign®, Visa®, MasterCard®, and

Amazon logos.

       19.     Plaintiff has not licensed nor authorized Defendants to use its Trademarks and

none of the Defendants are authorized retailers of its genuine products.

       20.     Upon information and belief, Defendants deceive unknowing consumers by using

the Plaintiff’s MOTOGP Trademarks without authorization within the content, text, and/or meta

tags of its websites to attract various search engines looking for websites relevant to consumer

searches for Plaintiff’s products. Additionally, upon information and belief, Defendants use other

unauthorized search engine optimization (SEO) tactics and social media spamming so that the

Defendants’ Internet Stores listings show up at or near the top of relevant search results and

misdirect consumers searching for Plaintiff’s genuine products.         Further, Defendants utilize

similar illegitimate SEO tactics to propel new domain names to the top of search results after

others are shut down.      As such, Plaintiff seeks to disable the Domain Names owned by

Defendants through which their counterfeit products are sold.

       21.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Internet Stores. For

example, many of Defendants’ names and physical addresses used to register their Domain Names

are incomplete, contain randomly typed letters, or fail to include cities or states. Other Defendants’

Domain Names use privacy services that conceal the owners’ identity and contact information.

Upon information and belief, some of the tactics used by the Defendants to conceal their identities

and the scope and interworking of their counterfeit operations to avoid being shut down include

regularly creating new websites and online marketplace accounts on various platforms using the

identities listed in Schedule A to the Complaint, as well as other fictitious names and addresses.



                                                  7
      Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 8 of 17 PageID #:8




       22.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendants’ Internet Stores. For example, some of the Defendants’ websites

have identical layouts, even though different aliases were used to register their respective domain

names. In addition, the counterfeit products for sale in the Defendants’ Internet Stores bear

similarities and indicia of being related to one another, suggesting that the counterfeit products were

manufactured by a common source and that Defendants are interrelated. The Defendants’ Internet

Stores also include other notable common features, including use of the same domain name

registration patterns, unique shopping cart platforms, similar payment and check-out methods,

meta data, illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of

contact information, identically or similarly priced items and volume sales discounts, similar

hosting services, similar name servers, and the use of the same text and images.

       23.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, when counterfeiters like Defendants receive

notice of a lawsuit they will often register new domain names or online marketplace accounts

under new aliases and move website hosting to rogue servers located outside the United States

once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down demands

sent by brand owners. Counterfeiters will also ship products in small quantities via international

mail to minimize detection by U.S. Customs and Border Protection. A 2012 U.S. Customs and

Border Protection report on seizure statistics indicated that the Internet has fueled “explosive

growth” in the number of small packages of counterfeit goods shipped through the mail and

express carriers.




                                                  8
      Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 9 of 17 PageID #:9




       24.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant and Amazon accounts behind layers of payment gateways so that they can continue to

operate in spite of Plaintiff’s enforcement efforts.     Upon information and belief, Defendants

maintain off-shore bank accounts and regularly move funds from their Amazon accounts to off-

shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of Amazon transaction

logs from prior similar cases indicate that offshore counterfeiters regularly move funds from U.S.-

based Amazon accounts to China-based bank accounts, for example, outside the jurisdiction of

this Court.

       25.     On information and belief, Defendants are in constant communication with each

other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation and potential new lawsuits.

       26.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use Plaintiff’s MOTOGP Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit products into the United

States and Illinois over the Internet. Each Defendants’ Internet Stores offer shipping to the

United States, including Illinois and, on information and belief, each Defendant has offered to

sell counterfeit products into the United States, including Illinois.

       27.     Defendants’ use of Plaintiff’s MOTOGP Trademarks in connection with the

advertising, distribution, offering for sale, and sale of counterfeit products, including the sale of

counterfeit products into Illinois, is likely to cause and has caused confusion, mistake and

deception by and among consumers and is irreparably harming Plaintiff.

                                             COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

                                                  9
    Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 10 of 17 PageID #:10




        28.     Plaintiff repeats and incorporates by reference herein the allegations contained

in paragraphs 1-27 of this Complaint.

        29.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of Plaintiff’s Trademarks in connection

with the sale, offering for sale, distribution, and/or advertising of infringing goods. Plaintiff’s

MOTOGP Trademarks are highly distinctive. Consumers have come to expect the highest

quality from Plaintiff’s products provided under its Trademarks.

        30.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with Plaintiff’s MOTOGP Trademarks without Plaintiff’s permission.

        31.     Plaintiff is the owner of the MOTOGP Trademarks (Exhibit 1). The United States

Registrations for Plaintiff’s MOTOGP Trademarks are in full force and effect.                  Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in its Trademarks and

are willfully infringing and intentionally using Plaintiff’s MOTOGP Trademarks on counterfeit

products. Defendants’ willful, intentional and unauthorized use of Plaintiff’s MOTOGP

Trademarks is likely to cause and is causing confusion, mistake and deception as to the origin

and quality of the counterfeit products among the general public.

        32.     Defendants’     activities   constitute   willful   trademark   infringement       and

counterfeiting under 15 U.S.C. §§ 1114, 1117.

        33.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell and sale of counterfeit Plaintiff’s products.




                                                  10
    Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 11 of 17 PageID #:11




         34.   Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known Trademarks.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

         35.   Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-34 of this Complaint.

         36.   Defendants’ promotion, marketing, offering for sale and sale of counterfeit products

have created and are creating a likelihood of confusion, mistake and deception among the general

public as to the affiliation, connection, or association with Plaintiff or the origin, sponsorship, or

approval of Defendants’ counterfeit products by Plaintiff.

         37.   By using Plaintiff’s MOTOGP Trademarks in connection with the sale of

counterfeit products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit products.

         38.   Defendants’ conduct constitutes willful false designation of origin and

misrepresentation of fact as to the origin and/or sponsorship of the counterfeit products to the

general public under 15 U.S.C. §§ 1114, 1125.

         39.   Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.



                                 COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (815 ILCS § 510/1, et seq.)




                                                 11
    Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 12 of 17 PageID #:12




       40.      Plaintiff repeats and incorporates by reference herein the allegations contained in

paragraphs 1-39 of this Complaint.

       41.      Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit products as those of Plaintiff, causing likelihood of confusion

and/or misunderstanding as to the source of its goods, causing likelihood of confusion and/or

misunderstanding as to an affiliation, connection or association with genuine products,

representing that their products have Plaintiff’s approval when they do not, and engaging in other

conduct which creates likelihood of confusion or misunderstanding among the public.

       42.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1 et seq.

       43.      Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to his reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys and

all persons acting for, with, by, through, under, or in active concert with them be temporarily,

preliminarily and permanently enjoined and restrained from:

       a. using Plaintiff’s MOTOGP Trademarks or any confusingly similar trademark or name

             in any manner in connection with the distribution, marketing, advertising, offering for

             sale, or sale of any product that is not a genuine product or is not authorized by

             Plaintiff to be sold in connection with Plaintiff’s MOTOGP Trademarks;




                                                 12
Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 13 of 17 PageID #:13




  b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

     product or any other product produced by Plaintiff that is not Plaintiff’s or is not

     produced under the authorization, control, or supervision of Plaintiff and approved by

     Plaintiff for sale under its Trademarks;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit products are those sold under the authorization, control, or supervision of

     Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

  d. further infringing Plaintiff’s MOTOGP Trademarks and damaging Plaintiff’s

     reputation and goodwill;

  e. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered

     including Plaintiff’s MOTOGP Trademarks, or any reproductions, counterfeit copies,

     or colorable imitations thereof;

  f. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     Online Marketplace Accounts, the Defendant Domain Names, or any other domain

     name or online marketplace account that is being used to sell or is the means by which

     Defendants could continue to sell counterfeit products; and

  g. operating and/or hosting websites at the Defendants’ Domain Names and any other

     domain names registered or operated by Defendants that are involved with the

     distribution, marketing, advertising, offering for sale, or sale of any product bearing

     Plaintiff’s MOTOGP Trademarks or any reproduction, counterfeit copy or colorable




                                           13
     Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 14 of 17 PageID #:14




            imitation thereof that is not a genuine product or is not authorized by Plaintiff to be sold

            in connection with its Trademarks;

        2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through g, above;

        3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendants’

Domain Names shall be changed from the current registrant to Plaintiff, and that the domain

name registries for the Defendants’ Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendants’ Domain Names to a registrar of

Plaintiff’s selection, and that the domain name registrars take any steps necessary to transfer the

Defendants’ Domain Names to a registrar of Plaintiff’s selection; or that the same domain name

registries shall disable the Defendants’ Domain Names and make them inactive and

untransferable;

        4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer, Amazon,

social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search engines such as

Google, Bing and Yahoo, web hosts for the Defendants’ Domain Names, and domain name

registrars, shall:

        a. disable and cease providing services for any accounts through which Defendants

            engage in the sale of counterfeit products using Plaintiff’s MOTOGP Trademarks

            including any accounts associated with the Defendants listed in Schedule A;


                                                  14
    Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 15 of 17 PageID #:15




       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit products using Plaintiff’s

           MOTOGP Trademarks; and

       c. take all steps necessary to prevent links to the Defendants’ Domain Names identified

           in Schedule A from displaying in search results, including, but not limited to,

           removing links to the Defendants’ Domain Names from any search index;

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of Plaintiff’s MOTOGP Trademarks are increased by a sum not exceeding three

times the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, Plaintiff is awarded statutory damages pursuant to 15 U.S.C. §

1117(c) of not less than $1,000 and not more than $2,000,000 for each and every use of its

Trademarks;

       7) That Plaintiff is awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.




                                               15
    Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 16 of 17 PageID #:16




Dated: June 20, 2024           Respectfully submitted,


                               By:    /s/ Michael A. Hierl
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                                        16
    Case: 1:24-cv-05114 Document #: 1 Filed: 06/20/24 Page 17 of 17 PageID #:17




                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

Complaint was filed electronically with the Clerk of the Court and served on all counsel of

record and interested parties via the CM/ECF system on June 20, 2024.



                                                     s/Michael A. Hierl




                                               17
